Case 1:21-cv-00309-ELH Document 330 Filed 04/03/25 Pagelof1
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Karen Warren
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From: Gregory Jordan <gjordan@jz-llc.com>

Sent: Thursday, April 3, 2025 10:40 AM

To: Karen Warren

Cc: Thomas J. Gagliardo; stern_kaganstern.com; Shannon Hayden

Subject: DAVID BOSHEA v Compass Marketing RE: Pretrial conference , March 26, 2025 - Boshea

v. Compass Marketing, Inc., Civil No. ELH-21-0309

CAUTION - EXTERNAL:

| appeared today with David Boshea’s estate counsel to obtain the appointment of Ashley Boshea as independent
administrator for David Boshea’s estate. The Court indicated it would enter the order until Compass’ attorney raised technical
objections to block Ashley Boshea’s appointment. As a result, the Court denied the application, gave leave to amend any
technicalissues, and set a hearing on June 17, 2025 for the appointment and any objections.

Given this fact, the trial clearly cannot proceed on April 21. Please let me know if the Court wishes to proceed with the pretrial
hearing tomorrow.

Gregory J. Jordan

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